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United States District Court hey.

Southern District of Indiana

1219-tv- 466 8 JRS ii

Richard Clemons file no.
Plaintiff Hon.
V

Indianapolis University Law School
Dean of Student Affairs Jane Doe#1
|.U. law student Jane Doe#2

Defendant(s)

 

Complaint for 42 USC 1983
Inter Alia

(Parties)
Plaintiff is Richard Clemons a former law student. He can be reached at
402 N. Saint Louis. Chicago, Il. 60624. His phone number is 317-893-8766.

The Defendant Jane Doe(s) are the Dean of student affairs along pith a
law student respectively” They can be reached at 530 W. Ne St
Indianapolis, Indiana. 46202. 317-274-8523.

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(Jurisdiction)
This court has jurisdiction pursuant to 28 USC 1331.

(Complaint)

1) That on 11-19-19, a white female student of the indicated law school
yet unrelated with exception as to chronological sequence of events,
falsely accused plaintiff who is African American of sexual assault.
Police intervention found not only was there no physical assault of
any kind but that the investigation concluded that even the
conversation this complainant alluded to as a basis of the complaint
held no evidence of anything sexual in nature.

2) Once completely exonerated by the University Police, plaintiff was
allowed to continue his research at the school.

3) Yet at approximately 11:00 am, on 11-20-19, unaware that plaintiff's
complete exoneration of the false charge left women at the school
“uncomfortable”', yet another white female student absent any
reasonable basis in fact, fabricated a harassment charge after
communicating to plaintiff who had no prior contact “| don't like how
you treated my friends yesterday”. Because of what she was “told” by
the actual person party to the dispute. The defendant had no relation
to the proceedings except being a friend to the person who made the
false allegation the day prior.

4) After conversing with plaintiff and absent plaintiffs knowledge, Jane
Doe law student?, communicated a “harassment” charge and staff

 

1 According to Jane Doe#2 the law student in a recorded discussion witnessed by subsequent police
intervention in report number191124.

2 Who for purposes of service by the U.S. Marshal will be served as Jane Doe at the law school and
properly identified by the grievance coordinator legally responsible for the resolution of civil and
administrative grievance involving the school and any students in relation thereto.

 

 
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called the police. Again, upon presentation of the video evidence, the
police cleared plaintiff of any wrongdoing and agreed with plaintiff that
while not conclusive, there was probable cause to believe at that
point, that there may lie racial considerations as a motivation in the
filing of the false charge.

5) Incredibly and absent any questions or even a pretense of an
administrative hearing,’ and despite the police findings of
exoneration, defendant Dean of Student Affairs initiated
administrative action that ordered the IU police to barr plaintiff from
the premises of the law school. The white student who filed the false
charges in retaliation of plaintiff's favorable investigation, went
unpunished. Plaintiff notes that under these facts, any
post-deprivation remedy‘ is inadequate. Yet pre deprivation remedies
clearly in place were completely ignored by the defendant. She
simply did not even want to have a discussion your honor. Plaintiff did
suffer immediate and devastating embarrassment and depression as
he was escorted off the premises in shame by the same police
officers who once again had found that the charges were false.

(Claim for relief)
Plaintiff sues Jane Doe Dean of Student Affairs in her personal
capacity.He sues for deprivation of his 14th amendment rights for
procedural due process and equal protection violation. He also sues
under the first amendment because defendant's conduct threatened
his access to the courts®.

 

3 Plaintiff's application for acceptance into a different program of the school is currently in progress and is
now seriously threatened based on the Dean of Student Affairs capricious treatment of the subject.

4 If there is one clearly identified, plaintiff alleges that the remedy was inadequate as a matter of law
because the State of Indiana refuses as a matter of statute, to rely on administrative proceedings of it's
arms of the state in order to perfect a civil rights violation.

5 Plaintiff states this as a matter of pre deprivation grievance mechanism and pending litigation being
prosecuted in another state. The law school was specially tailored to meet certain litigation needs
beneficial to plaintiff that will be expanded in the proofs.

 
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Plaintiff sues both defendants under ancillary jurisdiction for
intentional infliction of emotional distress. Plaintiff also sues under a
theory of negligence.

(Relief sought)
Plaintiff seeks a declaratory judgment against defendant Dean of
Student Affairs that plaintiff enjoys a constitutional right to access a
public resource with a minimum pre-deprivation mechanism prior to
restraint, where there is a presumption that the deprivation was the
result of racial discrimination.

Plaintiff seeks a declaration that he enjoyed a limited contractual
interest in accessing resources of the law school that could not be
disturbed absent a showing of a legitimate state objective.

Plaintiff seeks 15,000. Against defendant Jane Doe law school
student for the filing of a false harassment charge which resulted in
plaintiff's detainment by police.

Respectfully Submitted,
Richard Clemgns
402 N. Saint
Chicago, II.

 
 
 
 

 
